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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

SELECT PORTFOLIO SERVICING,                     §
INC.,                                           §
          Plaintiff,                            §
                                                §
v.                                              §    CASE NO. 6:23-CV-00452-ADA-JCM
                                                §
REX SCOTT, et al,                               §
          Defendants.                           §


                        REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE ALAN D ALBRIGHT
       UNITED STATES DISTRICT JUDGE

       This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C.

§ 636(b)(1)(C), FED. R. CIV. P. 72(b), and Rules 1(f) and 4(b) of Appendix C of the Local Rules

of the United States District Court for the Western District of Texas, Local Rules for the

Assignment of Duties to United States Magistrate Judges. Before the Court is Plaintiff’s Motion

for Partial Default Judgment against Defendants Rex Scott and John Scott (ECF No. 15). For the

following reasons, the Court recommends Plaintiff’s Motion be GRANTED.

                                       I.     BACKGROUND

       Plaintiff Select Portfolio Servicing, Inc., files this Motion for Partial Default Judgment

against Defendants Rex Scott and John Scott. Plaintiff sued Defendants on June 14, 2023,

seeking a declaratory judgment to foreclose on real property. Pl.’s Compl. (ECF No. 1) at ⁋ 14.

On the same day, Plaintiff requested summons. Req. for Issuance of Summons (ECF No. 3).

       This proceeding concerns real property located at 712 W. 3rd Street, McGregor, Texas

76657 (“Property”). Pl.’s Compl. at ⁋ 9. Garrison Scott executed a Note in the principal amount
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of $50,000 with an interest rate of 7.25% on October 27, 2008. Id. at ⁋ 11; Pl.’s Compl., Ex. A.

The Note was originally payable to Great Western Financial Services, Inc., as a lender on a loan

secured by the Property. Id. at ⁋ 11.

       Along with the Note, Garrison Scott and Johnnye Scott executed a Texas Home Equity

Security Instrument (First Lien) (“Security Instrument” and together with the Note, “Loan

Agreement”), granting Mortgage Electronic Registration Systems, Inc. a security interest in the

Property. Id. at ⁋ 12. The Security Instrument was recorded in the Official Public Records of

McLennan County, Texas, as Document No. 20080036001, on November 4, 2008. Id. Mortgage

Electronic Registration Systems, Inc. as beneficiary and nominee for Great Western Financial

Services, Inc., its successors and assigns to Plaintiff. Id. at ⁋ 13. The assignment was recorded in

the official public records of McLennan County, Texas, as Document No. 2023014424 on May

17, 2023. Id. Plaintiff is the current legal owner and holder of the Note. Id. at ⁋ 14.

       Garrison Scott died on or about April 20, 2020. Id. at ⁋ 2. Johnnye Howard Scott died on

or about April 25, 2022. Id. at ⁋ 3. No probate was ever opened for either of their estates in

McLennan County, Texas. Id. at ⁋ 4. Thus, their heirs acquired all of their interest in the Property

immediately upon their deaths, subject to the Loan Agreement owed to Plaintiff. Id. at ⁋ 5.

       Plaintiff filed this lawsuit seeking a declaration from the Court that it is the owner and

holder of the Note, beneficiary of the Security Instrument, and authorized to enforce the power

of sale in the Security Instrument through foreclosure of the Property. Id. at ⁋ 22. Plaintiff also

seeks a declaration that it has a statutory probate lien against the Property under the terms of the

Loan Agreement. Id. at ⁋ 24. Plaintiff further seeks non-judicial foreclosure of the Property, or

alternatively judicial foreclosure, and to sell the Property at a public auction. Id. at ⁋ 27–31.

Finally, Plaintiff requests damages for reasonable attorney’s fees. Id. at ⁋ 32.
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       Plaintiff served Defendant Rex Scott with summons on July 12, 2023. Pl.’s Mot. Default

J. at ⁋ 3. His answer or response was due August 2, 2023. Id. Defendant Rex Scott has not

appeared or otherwise defended the suit. Id. Plaintiff served Defendant John Scott on June 28,

2023. Id. at ⁋ 4. His answer or response was due on or before July 19, 2023. Id. Defendant John

Scott has not answered or otherwise appeared in the lawsuit. Id. at ⁋ 5. Exhibit A-1 shows that

Defendants are not on active-duty military status. Ex. A-1, Decl. of Mark Cronenwett. Plaintiff

filed a Motion for Clerk’s Entry of Default against Defendants on August 8, 2023. ECF No. 11.

The Clerk entered default as to John Scott and Rex Scott the same day. ECF No. 12; ECF No.

13. Plaintiff filed this Motion for Default Judgment on August 22, 2023. Defendants have not

responded.

                                      II.    RELEVANT LAW

       Default may be entered against a party when it fails to answer or otherwise defend a suit.

FED. R. CIV. P. 55. The following three steps must be followed to obtain a default judgment: (1)

default by the defendant; (2) entry of default by the Clerk; and (3) entry of default judgment by

the court. N.Y. Life Ins. Co. v. Brown, 84 F.3d 137, 141 (5th Cir. 1996). To enter default

judgment, courts typically determine whether default judgment is appropriate by considering the

Lindsey v. Prive Corp., 161 F.3d 886 (5th Cir. 1998) factors and whether the pleadings have a

sufficient basis for judgment. Nautilus Ins. Co. v. A Best American Roofing, LLC, EP-18-CV-

320-PRM, 2019 WL 1473140, at *2 (W.D. Tex. Apr. 3, 2019) (citing Lindsey, 161 F.3d at 893

and Nishimatsu Constr. Co. v. Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)); Yeti

Coolers, LLC v. Zhejiang Zhuosheng Indus. & Trade Co., Ltd., 1:17-CV-821-RP, 2019 WL

2568748, at *2 (W.D. Tex. June 21, 2019).
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       Plaintiff’s well-pleaded factual allegations are taken as true after default, and default

functions as an admission of those allegations. Jackson v. FIE Corp., 302 F.3d 515, 524–25 (5th

Cir. 2002). Failure to answer or otherwise defend is admission of liability but not agreement with

proposed damages. Id. An evidentiary hearing is not necessary to determine damages if damages

are liquidated or mathematically calculable. United Artists Corp. v. Freeman, 605 F.2d 854, 857

(5th Cir. 1979).

                                           III.   ANALYSIS

       Plaintiff seeks a declaration that it is the owner and holder of the Note, beneficiary of the

Security Instrument, and authorized to enforce the power of sale in the Security Instrument

through foreclosure of the Property. Pl.’s Compl. at ⁋ 22–31. The Court must determine first

whether default judgment is appropriate, and second what relief, if any, should be awarded.

       First, the Court must determine whether default judgment may be entered. To obtain

default judgment, the following must occur: (1) default by the defendant; (2) entry of default by

the Clerk; and (3) entry of default judgment by the court. N.Y. Life Ins. Co., 84 F.3d at 141.

Defendants defaulted by failing to answer or otherwise defend this suit. FED. R. CIV. P. 55.

Service was properly executed on Defendants, yet they have not appeared, answered, or

otherwise defended this suit. Pl.’s Mot. for Clerk’s Entry of Default. The Court Clerk entered

default against Defendants on August 8, 2023. ECF No. 12; ECF No. 13. Therefore, default

judgment may be entered by the Court, and the Court must now determine whether default

judgment is appropriate.

       Under Lindsey, the Court must consider the following:

       whether material issues of fact are at issue, whether there has been substantial
       prejudice, whether the grounds for default are clearly established, whether the
       default was caused by a good faith mistake or excusable neglect, the harshness of
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       a default judgment, and whether the court would think itself obliged to set aside
       the default on the defendant’s motion.

Lindsey, 161 F.3d at 893. There are no issues of material fact as Defendants failed to respond to

Plaintiff’s allegations in any manner. Defendants do not face prejudice as they have admitted to

the allegations through their default. Jackson, 302 F.3d at 524. Grounds for default are “clearly

established” as Plaintiff properly served Defendants, and Defendants have not defended the suit.

Defendants have not claimed any good faith mistake or excusable neglect. Id. Defendants failed

to respond though they had time to do so, mitigating the harshness of default judgment. Id. While

default judgment is not a favored remedy of the courts, no good cause is apparent which would

oblige the Court to set aside default judgment. Id.; Lewis v. Lynn, 236 F.3d 766, 767 (5th Cir.

2001) (per curiam). Therefore, the Lindsey factors weigh in favor of default judgment.

   A. Plaintiff is entitled to a declaration of foreclosure on the Property.

       Next, the Court must determine whether there is a sufficient basis in the pleadings for

default judgment. Nishimatsu Const. Co., Ltd., 515 F.2d at 1206. Plaintiff seeks a declaratory

judgment that Plaintiff “is authorized to enforce the power of sale in the Security Instrument

through foreclosure of the Property.” Pl.’s Compl. at ⁋ 22. To foreclose under a security

instrument with a power of sale in Texas, the lender must demonstrate that: (1) a debt exists; (2)

the debt is secured by a lien created under Art. 16, § 50(a)(6) of the Texas Constitution; (3)

defendant is in default under the note and security instrument; and (4) defendant received notice

of default and acceleration. Huston v. U.S. Bank. Nat. Ass’n, 988 F.Supp.2d 732, 740 (S.D. Tex.

2013) citing Tex. Prop. Code § 51.002.

       The Court should declare that Plaintiff is entitled to foreclose against Defendants.

Plaintiff is permitted to seek foreclosure of the lien on the property due to Defendants’ failure to

pay the debt under the Loan Agreement. Originally payable to Great Western Financial Services,
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Inc., Plaintiff is now the beneficiary of the Loan Agreement pursuant to an assignment. Pl.’s

Compl. at ¶ 11–14. Plaintiff alleged that the creation of the Loan Agreement created a debt. This

debt is secured by a valid lien because the Security Instrument was recorded in the official public

records of McLennan County, Texas. Id. at ⁋ 18. Plaintiff alleges that the Loan Agreement fell

into default because of the Estate of Garrison Scott’s failure to abide by the terms and make

required payments. Id. Finally, Plaintiff asserts that notice of default and notice of acceleration

were properly sent to Defendant. Id. at ⁋ 19. By failing to answer the Complaint, Defendants

have admitted these factual allegations. Therefore, the Court should declare that Plaintiff is

entitled to foreclosure.

       Plaintiff’s pleadings provide a sufficient basis for default judgment. Therefore, Plaintiff

established a sufficient basis in the pleadings for default judgment to be entered. Nishimatsu

Const. Co., Ltd., 515 F.2d at 1206. Because the Lindsey factors weigh in favor of default

judgment and the pleadings have a sufficient basis for default judgment to be entered, the Court

may enter default judgment against Defendants.

   B. Plaintiff is entitled to relief.

       Finally, the Court must determine what relief should be awarded to Plaintiff. The Court

does not need to hold an evidentiary hearing on the issue of damages if damages are liquidated or

mathematically calculable. United Artists Corp., 605 F.2d at 857. Plaintiff does not seek

monetary damages against Defendants. Instead, Plaintiff seeks the following relief: (1) a

declaration that Plaintiff is the owner and holder of the Note and beneficiary of the Deed of Trust

and is authorized to enforce the power of sale in the Deed of Trust through foreclosure of the

Property; (2) a declaration that Plaintiff’s statutory probate lien against the Property shall be
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enforced by a non-judicial foreclosure at public auction; and (3) attorney fees and costs of suit.

Id. at 8–9.

        Plaintiff is entitled to all of the relief it seeks. Plaintiff requests that the award of

attorneys’ fees be made not as a money judgement against Defendants, but as a further obligation

owed under the Loan Agreement in an amount to be determined in a post-judgment motion

pursuant to Federal Rule of Civil Procedure 54(d)(2)(B)(i). Id. at ⁋ 35. Plaintiff is entitled to

attorneys’ fees in an amount to be determined in a post-judgment motion.

                                         IV.       CONCLUSION

        It is therefore RECOMMENDED Plaintiff’s Motion for Default Judgment (ECF No. 15)

be GRANTED. It is further RECOMMENDED that the proposed Final Default Judgment filed

by Plaintiff at ECF No. 15-2 be entered in full.

                                         V.        OBJECTIONS

        The parties may wish to file objections to this Report and Recommendation. A party

filing objections must specifically identify those findings or recommendations to which

objections are made. The District Court need not consider frivolous, conclusive, or general

objections. Battle v. U.S. Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

        A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings

and recommendations in the Report and, except upon grounds of plain error, shall bar the party

from appellate review of unobjected-to proposed factual findings and legal conclusions accepted

by the District Court. 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150–53 (1985);

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).
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SIGNED this 7th day of November 2023.




                               JEFFREY C. MANSKE
                               UNITED STATES MAGISTRATE JUDGE
